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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                            )
 JEROME ADAMS, et. al.,                     )
                                            )
       Plaintiffs,                          ) No. 1:16-cv-3445-RA-SDA
                                            )
       v.                                   )
                                            )
 CITY OF NEW YORK,                          )
                                            )
       Defendant.                           )
___________________________________________ )

                  AGREED ORDER OF DISMISSAL WITH PREJUDICE

       This case having come before the Court upon the joint request of Plaintiffs and Defendant,

the Court having been advised of and considered the Settlement Agreement dated September 15,

2021, entered into by and among Plaintiffs and Defendant that has resulted from arm’s length

settlement negotiations, and upon the joint application of Plaintiffs and Defendant, by their

Attorneys, seeking review and approval by the Court thereof, and based on the entire record, it is

hereby ORDERED, ADJUDGED, AND DECREED as follows:

       1.      The Court approves and adopts the terms of the Settlement Agreement entered into

between the Parties to the above captioned case. Recognizing that there has been, and there is no

admission of liability by Defendant, the Settlement Agreement reflects a fair, reasonable, and

appropriate compromise deemed in the best interest of the Parties and is in accordance with law.

       2.      Consistent with the Settlement Agreement, this action is hereby dismissed with

prejudice. The Court will retain jurisdiction over the parties to the Agreement for the purpose of

interpretation and compliance with the Agreement and Agreed Order of Dismissal with Prejudice.

SO ORDERED:



This 12th day of November, 2021.                   _________________________________
                                                   Hon. Ronnie Abrams, U.S.D.J.
